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                                                               United States Bankruptcy Court
                                                                       Middle District of Florida
 In re      StaySaver Vacations LLC                                                                                   Case No.       8:22-bk-00192-CPM
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 StaySaver Vacation Group LLC
 2601 Cattlemen Rd. Suite 500
 Sarasota, FL 34232


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date January 26, 2022                                                       Signature /s/ Larry Biondi
                                                                                            Larry Biondi

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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